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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     “IN ADMIRALTY”

     WORLD FUEL SERVICES (SINGAPORE) PTE LTD
     d/b/a World Fuel Services,

              Plaintiff,
     vs.

     24VISION CHARTERING SOLUTIONS DMCC,
     ALCYONE INTERNATIONAL MARINE INC.

           Defendants.
     ______________________________________________/

                                           COMPLAINT

              COMES NOW, Plaintiff WORLD FUEL SERVICES (SINGAPORE) PTE LTD

     d/b/a World Fuel Services (“WFS”) by and through undersigned counsel to hereby file its

     complaint against Defendants 24VISION CHARTERING SOLUTIONS DMCC

     (“Charterer”)     and    ALCYONE      INTERNATIONAL        MARINE      INC.   (“Owner”)

     (collectively “Buyers”) as follows:

                              PARTIES, JURISDICTION AND VENUE

           1. This is an admiralty and maritime action within the meaning of Rule 9(h) of the

              Federal Rules of Civil Procedure and this Court has jurisdiction pursuant to 28

              U.S.C. §1333.

           2. Plaintiff WORLD FUEL SERVICES (SINGAPORE) PTE LTD is a company

              organized under the laws of Singapore with an address at 238A Thomson Road

              #08-01 Novena Square Tower A Singapore 307684.

           3. Plaintiff is part of the World Fuel Services Marine Group of companies and is an

              indirect and wholly owned subsidiary of World Fuel Services Corporation which is
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          a Florida corporation traded publicly on the New York Stock Exchange under the

          ticker symbol “INT” (hereinafter referred to as “World Fuel Services” or “WFS”),

          based in this District at 9800 N.W. 41st Street, Suite 400, Miami, Florida 33178.

       4. Plaintiff sells and supplies fuel oil and lubricants to ocean going cargo vessels and

          tankers.

       5. Defendant Charterer, 24VISION CHARTERING SOLUTIONS DMCC, is an

          entity organized and domiciled in the United Arab Emirates with a current address

          of Unit No: 2801 Platinum Tower Plot No: JLT-PH1-I2 Jumeirah Lakes Towers

          Dubai UAE and was a time charterer of the Bulk Carrier “GENTLE SEAS” bearing

          IMO Number: 9703514 (the “Vessel”).

       6. Defendant Owner, ALCYONE INTERNATIONAL MARINE INC., is a Liberian

          entity with a registered address of 80 Broad Street Monrovia (Liberia) and is the

          registered owner of the Vessel.

       7. On or about April 18, 2019, the Plaintiff and the Defendants entered into a purchase

          and sale contract for the delivery of fuel to the Vessel. A true and correct copy of

          the Sales Confirmation is attached hereto as Exhibit “A”.

       8. This Purchase and Sale Contract incorporated “The World Fuel Services Marine

          Group of Companies General Terms and Conditions dated May 1, 2016.” A true

          and correct copy of the General Terms and Conditions dated May 1, 2016 is

          attached hereto as Exhibit “B”.

       9. On May 14, 2019, when the quantity of fuel was confirmed under the contract, an

          updated Confirmation was sent, which also incorporated the same Terms and
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          Conditions set forth in Exhibit “B”. A true and correct copy of the updated

          Confirmation is attached hereto as Exhibit “C”.

       10. As such, under section 10 of Exhibit “B”, the Defendant is subject to the Court’s

          personal jurisdiction under Fla. Stat. § 48.193(9).

       11. Venue under Section 10 of Exhibit “B” is also permitted in the Southern District of

          Florida.

       12. As such, this Court is a proper venue and the Court has subject matter jurisdiction

          over the issues and personal jurisdiction over the parties.

       13. WFS filed an action for a conservatory arrest of the Vessel in the port of Owendo

          (Gabon) which was granted by the President of the Tribunal de Commerce de

          Libreville on 10 July 2020, a procedural measure alleging maritime claim(s)

          whereby the Vessel was arrested.

       14. No security has been posted to date.

       15. The Vessel remains under arrest and, in accordance with Gabonese law on

          conservatory arrests, this action is being instituted as a result.

      COUNT I – BREACH OF MARITIME CONTRACT AGAINST DEFENDANTS

       16. On or about April 18, 2019, the parties entered into a purchase and sale agreement

          for the delivery of fuel to the Vessel. See Exhibit “A”.

       17. On or about May 14, 2019, after confirming the correct quantity of fuel actually

          needed, the Plaintiff and the Defendants updated their purchase and sale contract

          for the delivery of fuel to the Vessel. See Exhibit “B”.
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       18. The purchase order memorialized in the Confirmations was made by Defendant

          Charterer for itself and Defendant Owner as per the Seller’s Terms and Conditions

          of the contract. See Exhibit “B.”

       19. On May 14, 15, 16, and 17, 2019, the owner’s representative and authorized agent,

          Inchcape Shipping Services, continually wrote to Seller repeatedly acknowledging

          notice and authorization for the fuel purchased, without any objection to the terms

          and conditions binding the Owner and repeatedly insisting the fuel purchased be

          supplied promptly writing on every day noted above “(a)s the vessel is on a very

          tight   schedule,    please    program     for   your   bunker    barge   to   supply

          promptly…We/Owner will not accept any delay in the supply.”

       20. Defendant Owner allowed Defendant Charterer to purchase fuel and bind the

          Defendant Owner when the Owner manifested actions to make the Defendant

          Charterer appear as if it was acting as its agent by (1) turning over its Vessel to the

          Defendant Charterer to operate and manage; (2) by authorizing the Defendant

          Charterer to purchase fuel on behalf of itself and Vessel, (3) by repeatedly

          acknowledging on the four days leading up to the delivery notice of the fuel

          purchase, implied authority of the fuel purchase and opportunity to object to

          binding the owner without doing so; and (4) after having full knowledge of the

          purchase contract and order binding the Defendant Owner pursuant to the terms of

          the contract, then subsequently authorizing its Master and crew to accept the

          bunkers provided and supplied by the Plaintiff without protest or objection to the

          terms the Defendant Owner knew and/or should have known bound the Owner to

          the contract for the fuel at issue in this lawsuit.
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        21. Pursuant to the May 14, 2019 final Confirmation and confirmed by a Bunker

            Delivery Note (receipt for the fuel supplied), the Vessel was provided, on May 18,

            2019, at the port of Singapore with 598.9660 metric tons of fuel 380 CST / RMG

            380 Max 3.5%S(10) at USD 428.00 per metric ton. True and correct copies of the

            final Confirmation and Bunker Delivery Note are attached, respectively, hereto as

            Exhibits “B” and “D”.

        22. An invoice bearing number 309549-31501 was issued on May 27, 2019 by WFS

            Singapore for the contractual debtors; the Vessel, the Defendant Owner, the

            Defendant Charterer, and the Vessel operator(s), for an amount of USD 256,357.45.

            A true and correct copy of the Invoice is attached hereto as Exhibit “E”.

        23. The invoice was due July 2, 2019 and remains unpaid to date, constituting a

            material breach of the parties’ agreement.

        24. Plaintiff has suffered damages as a result of this material breach; as of August 6,

            2020, for this delivery, Defendants owe $319,870.89, made up of $256,357.45 in

            principal, $50,695.56 in interest, and $12,817.87 in contractual fees. A true and

            correct copy of the Statement of Account for WORLD FUEL SERVICES

            (SINGAPORE) PTE LTD as of August 6, 2020 is attached hereto as Exhibit “F”.

        WHEREFORE, in accordance with the contract at issue, Plaintiff respectfully requests

     the Court to enter Final Judgment in its favor against the Defendants for Plaintiff’s

     damages, in the amount of $319,870.89 as of August 6, 2020, for which additional interest,

     contractual fees, attorneys’ fees, and costs have accrued or will continue to accrue.

     Dated: August 6, 2020                                Respectfully submitted,
                                                          WAGNER LEGAL
                                                          Attorney for Plaintiff
                                                          3050 Biscayne Blvd., #904
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